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            10    RN and CAITLIN E. HERSCHEL, RN
            11
                                                UNITED STATES DISTRICT COURT
            12                                      DISTRICT OF NEVADA
            13
            14    THE ESTATE OF JILL ANN ESCHE;                  CASE NUMBER: 3:21-cv-520
                  SIERRA JILL WOFFORD by and through
            15    her guardian ad litem WAYNE                    rFormerly Second Judicial District Court
                  WOFFORD; and CAMRON SCOTT                      for Washoe County, Nevada-Case No.
            16    ESCHE,                                         CV21-02087]
            17                    Plaintiffs,
                                                                 DEFENDANTS' NOTICE OF
            18    vs.                                            REMOVAL
            19    RENOWN REGIONAL MEDICAL
                  CENTER; MARTA J. BUNUEL-
            20    JORDANA, M.D.; CAROLINE
                  VASENDIN, M.D.; JOHANNA GRUEN,
            21    PhD.; EARLE OKI, M.D.; MAEGEN
                  SMITH, RN; CAITLIN E. HERSCHEL, RN;
            22    and DOES 1-X,
            23                    Defendants.
            24
            25                              DEFENDANTS' NOTICE OF REMOVAL
            26            Defendants Renown Regional Medical Center; Marta      J. Bunuel-Jordana, M.D.;
            27    Caroline Vasendin, M.D.; Johanna Gruen, Ph.D.; Maegen Smith, R.N.; and Caitlin E.
            28    Herschel, R.N. (Collectively referred to herein as "Renown Defendants") hereby remove

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             1    Case No. CV21-02087 from the Second Judicial District Court for Washoe County, Nevada,
             2    ~o the United States District Court for the District of Nevada pursuant to 42 U.S.C. §§ 1983
             3    and 1988; 28 U .S.C. §§ 1343, 1441, and 1446. As grounds for their removal, Defendants state
             4    as follows:
             5                                        STATEMENT OF THE CASE
             6               1.    On November 22, 2021, Plaintiffs the Estate of Jill Ann Esche; S.J.W, a minor,
             7                     by and through her guardian ad litem Wayne Wofford, and Camron Scott
             8                     Esche filed a complaint in the Second Judicial District Court in and for the
             9                     County of Washoe, Nevada styled the Estate of Jill Ann Esche; S.J. W, by and
            10                     through her guardian ad litem Wayne Wofford, and Camron Scott Esche v. Renown
            11                     Regional Medical Center; Marta J. Bunuel-Jordana, M.D.; Caroline Vasendin, M.D.;
            12                     Johanna Gruen, Ph.D.; Earle Oki, M.D.; Maegen Smith, R.N.; Caitlin E. Herschel,
            13                     R.N.; and Does 1-X, Case No. CV21-02087 (the "State Court Action"). A copy
            14                     of the Complaint without exhibits is attached as Exhibit A hereto.1
            15               2.    The Renown Defendants have not been served in the State Court Action but
            16                     have received a copy of the Plaintiffs' Complaint via the state court's website
            17                     on November 22, 2021.
            18               3.    The Complaint alleges five causes of action: (A) a violation of decedent Jill
            19                     Esche's Fourth Amendment rights supporting a claim pursuant to 42 U.S.C.
            20                     §1983; (B) a violation of decedent Jill Esche's Fourteenth Amendment rights
            21                     supporting a claim pursuant to 42 U.S.C. § 1983; (C) a violation of decedent
            22                    Jill Esche's civil rights due to a failure to train or supervise supporting a claim
            23                     pursuant to 42 USC§ 1983; (D) wrongful death due to medical negligence;
            24                     and (E) negligence.
            25    I II
            26
            27           I

            28    Plaintiffs' Complaint has two exhibits attached to it. Defendants have not received the Exhibits and
                  are unable to obtain them from the state court's website as of this filing and therefore are unable to
                  attach them to this Notice of Removal.
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             1            4.     Plaintiffs' claims arise from decedent Jill Esche' scare and medical treatment
             2                   at Renown Regional Medical Center. Plaintiffs allege Defendants violated
             3                   decedent   Jill   Esche's civil rights by restraining her for a mental health
             4                   evaluation and administering medical care related to pregnancy and
             5                   preeclampsia all pursuant to authority granted by Nevada state statutes.
             6            5.     Plaintiffs seek general damages, special damages, punitive damages,
             7                   declaratory relief, attorney's fees, and costs of suit.
             8          ORIGINAL SUBJECT MATTER TURISDICTION UNDER 28 U.S.C. §§ 1331,
             9                                                1343fa)(3)
            10            6.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331,
            11                   1343(a)(3) and 42 U.S.C. § 1983 because Plaintiffs seek redress for the
            12                   Defendants' alleged deprivation, under color state law, of decedent Jill
            13                   Esche's rights secured by the Constitution of the United States. See
            14                   Exhibit A, p. 10., ,r 76; p. 12, ,r 86; and p. 13, ,r 101.
            15     ALL PROCEDURA~ REOlilREMENTS FOR REMOVAL HAVE BEEN SATISFIED
            16            7.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule IA 10-1 and 10-3, a true and
            17                   correct copy of all the pleadings and documents from the State Court Actions
            18                   that Renown Defendants have received are being filed with this Notice of
            19                   Removal. Renown Defendants will file true and legible copies of all other
            20                   documents on file in the State Court Action pursuant to Local Rules IA 10-1
            21                   and 10-3 upon receipt.
            22            8.     This Notice of Removal has been filed within 30 days of the date that
            23                   Renown Defendants received a copy of the Complaint from the state court's
            24                   website.      Removal is therefore timely in accordance with     ~   U.S.C. §
            25                   1446(b)(l).
            26            9.     Upon information and belief, no Defendant has been served, and therefore
            27                   no other Defendant's consent to removal is filed herewith, as required by 28
            28                   U.S.C. 1446{b)(2)(A).

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               1             10.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(a)
               2                    because the U.S. District Court for the District of Nevada is the federal
               3                    judicial district embracing the Second Judicial Disbict Court for the Court of
                4                   Washoe State of Nevada., where the State Court Action was originally filed.
                5                                          CONCLUSION
                6            By this Notice of Removal, Renown Defendants do not waive any objections they
                7    may have ~s to service, jurisdiction or venue, or any other defenses or objection they
                8    may have to this action. Renown Defendants intend no admission of fact, law, or
                9    liability by this Notice and expressly reserve all defenses, motions, and/or pleas.
               10
                     Dated: December ~\ , 2021
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                                                                POLLARA LAW GROUP
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           1                            CERTIFICATE OF SERVICE BY SERVICE
           2                   Pursu,~o FRCP S(b), I hereby certify I am an employee of Nationwide
           3     Legal   antd
                           that o n ~ day of December, 2021, Icaused the foregoing DEFENDANTS'
           4     NOTICE O REMOVAL to be served on all parties in this action by:
           5             __ placing an original or true copy thereof in a sealed envelope, postage
           6                   prepaid, in the United States mail at )G.(.y11Mth..\.,, ,-~.
           7                   personal delivery.
            8                  facsimile (courtesy copy).
           9                   electronically served by the Court upon filing of document(s).
           10                  email (courtesy copy).
           11                  UPS/Federal Express or other overnight delivery.
           12    Fully addressed as follows:
           13
           14     Attorney                                  Representing        Phone/Fax/E-Mail
           15     Stephen H. Osborne, E~g.                  Plaintiffs           775) 789-4944 - phone
                  Law Office of Stephen H Osborne                                775) 322-5484 - fax
           16     232 Court Street                                              ~mail:
                  Reno, NV 89501                                                Stephen@ste;phenosbomelaw.
           17                                                                   mm
           18
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